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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE GOOGLE RTB CONSUMER                          Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   8                                                        SEALING ORDER RE DISCOVERY
                                                                                            DISPUTES
                                   9
                                                                                            Re: Dkt. Nos. 651, 659, 669
                                  10

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                                  12          Defendant Google LLC (“Google”) has filed several administrative motions to seal
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                                  13   portions of joint discovery dispute letters and accompanying exhibits. Dkt. Nos. 651, 659, 669.

                                  14   Plaintiffs do not oppose these motions.

                                  15          There is a strong presumption in favor of access by the public to judicial records and

                                  16   documents accompanying dispositive motions that can be overcome only by a showing of

                                  17   “compelling reasons supported by specific factual findings.” Kamakana v. City & Cnty. of

                                  18   Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (cleaned up). However, the presumption does

                                  19   not apply equally to a motion addressing matters that are only “tangentially related to the merits of

                                  20   a case.” Ctr. for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1101 (9th Cir. 2016). A

                                  21   party seeking to seal documents or information in connection with such a motion must meet the

                                  22   lower “good cause” standard of Fed. R. Civ. P. 26(c). Id. at 1098-99; Kamakana, 447 F.3d at

                                  23   1179-80. The discovery matters at issue here do not address the merits of either party’s claims or

                                  24   defenses, so the Court applies the “good cause” standard of Rule 26(c).

                                  25          Google argues that good cause exists here because “the cited portions of these documents

                                  26   contain highly sensitive, confidential, and proprietary information . . . .” Dkt. No. 651 at 2; see

                                  27   also Dkt. No. 669 at 4. For many of the cited portions, Google explains that the information is

                                  28   “related to (1) Google’s business strategy, analysis, and revenue data regarding Google Real-time
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                                   1   Bidding (“Google RTB”), and (2) technical details and discussions concerning Google’s internal

                                   2   infrastructure names, data logs, and data systems associated with Google RTB, as well as their

                                   3   proprietary functionalities and metrics.” Dkt. No. 669 at 4. Google asserts that exposure of this

                                   4   information “would cause irreparable harm to Google by providing competitors and business

                                   5   partners with insight into Google’s strategic business decisions and policies and priorities” as well

                                   6   as “create a risk of cybersecurity threats.” Id.

                                   7          The Court agrees that good cause exists to seal the designated portions of these documents.

                                   8   The redactions Google proposes to make to the public versions of these documents are minimal

                                   9   and narrowly tailored to address the concerns it identifies. See Civil L.R. 79-5(c)(3). In these

                                  10   circumstances, the Court concludes that Google has demonstrated good cause to seal the following

                                  11   material and the Court orders that it be sealed:

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                                  13                            Document                       Portions to be Filed Under Seal
                                  14
                                                Joint Letter Brief Regarding the Errata
                                  15            to Deposition Transcript of Dr. Glenn          Portions highlighted at pages 1-6
                                                Berntson and Google
                                  16

                                  17                                                           Portions highlighted at 210:8-10,
                                                Ex. B (Excerpt from the Deposition
                                                                                               210:13, 210:25, 211:7, 211:18-19,
                                  18            Transcript of Dr. Glenn Berntson and           211:25, 212:6, 212:8, 212:10,
                                                Google) to the Joint Letter Brief              212:13, 212:22
                                  19

                                  20            Ex. C (December 11, 2023 Errata to the
                                                October 30, 2023 Deposition of Google
                                  21                                                           Portions highlighted at page 1
                                                30(b)(6) witness Glenn Berntson) to the
                                                Joint Letter Brief
                                  22

                                  23
                                                Joint Letter Brief Regarding RFP Nos.
                                                125-127 and 130-133                            Portions highlighted at pages 1–7
                                  24

                                  25

                                  26            Ex. A to the Joint Letter Brief Regarding
                                                                                               Portions highlighted at page 4
                                                RFP Nos. 125-127 and 130-133
                                  27

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                                   1            Ex. B to the Joint Letter Brief Regarding     Portions highlighted at pages 9, 12–
                                                RFP Nos. 125-127 and 130-133                  13
                                   2

                                   3            Joint Letter Brief Regarding Interrogatory
                                                                                              Portions highlighted at pages 1–6
                                                No. 22 and RFP Nos. 128-129
                                   4

                                   5            Ex. B to the Joint Letter Brief Regarding
                                                Interrogatory No. 22 and RFP Nos. 128-        Portions highlighted at page 4
                                   6
                                                129
                                   7

                                   8            Ex. D to the Joint Letter Brief Regarding
                                                Interrogatory No. 22 and RFP Nos. 128-        Portions highlighted at pages 9– 10
                                   9            129

                                  10
                                                Joint Letter Brief Regarding
                                  11                                                          Portions highlighted at pages 1–6
                                                Interrogatory No. 23
                                  12
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                                  13            Joint Letter Brief Regarding RFP No.
                                                                                              Portions highlighted at pages 3, 6
                                                141
                                  14

                                  15
                                              Redacted versions of these documents are already available on the public docket. See Dkt.
                                  16
                                       Nos. 652, 652-2, 652-3, 660, 670-2 (corrected), 670-3 (corrected), 661, 661-2, 661-4, 662, 663.
                                  17
                                       Accordingly, no further action is required from the parties.
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                                              IT IS SO ORDERED.
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                                       Dated: July 11, 2024
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                                  22                                                                  Virginia K. DeMarchi
                                                                                                      United States Magistrate Judge
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